Case 2:20-cv-16629-SDW-JRA Document 87 Filed 09/29/22 Page 1 of 1 PagelD: 295

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

DANIEL GARCIA, Docket No. 2:20-cv-16629 (SDW) (LDW)

Plaintiff,
NOTICE OF APPEARANCE

-against-

EVANS DELIVERY COMPANY, INC.,
CENTURY EXPRESS, A DIVISION OF EVANS
DELIVERY COMPANY, INC., TEXTAINER
GROUP HOLDINGS LMIITED, DIRECT
CHASSISLINK, INC., and AMERICAN LUMBER
CORPORATION, INC.

Defendants.

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PLEASE TAKE NOTICE, that Thomas C. Regan, Esq. of Lewis Brisbois Bisgaard &
Smith LLP, hereby appears in the above-captioned action as counsel for Defendant, Evans
Delivery Company, Inc. d/b/a Century Express (improperly identified as “Evans Delivery
Company, Inc. and Century Express, A Division of Evans Delivery Company, Inc.”), and
respectfully requests that all communications in this matter be directed to his attention at the
address set forth below.

Dated: September 29, 2022
LEWIS BRISBOIS BISGAARD & SMITH LLP

By. /s/ Thomas C. Regan
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